Case 2:12-cv-06383-JFB-AKT Document 437 Filed 01/28/16 Page 1 of 3 PageID #: 8734


GALLEY DREYER                  BERKEY, LLP
ATTORNEYS AT LAW                                                                     845 Third Avenue - 5th Floor
                                                                                      New York, NY 10022 - 6601
                                                          January 28, 2016             Telephone 212 - 935 - 3131
                                                                                        Facsimile 212 - 935 - 4514

  VIA ECF

  Hon. A. Kathleen Tomlinson
  United States Magistrate Judge
  Eastern District of New York
  Long Island Federal Courthouse
  100 Federal Plaza
  Central Islip, New York 11722

                                           Re:     Sky Medical Supply, Inc. v.
                                                   SCS Support Claims Services, Inc., et al.
                                                   12 Civ. 06383 (JFB) (AKT)

  Dear Judge Tomlinson:

         We represent defendants Nationwide Management Inc., Benjamin Osiashvili, Mikael
  Osiashvili, Svetlana Osiashvili, and Alex Vayner ("Nationwide Defendants") in this matter. We
  respectfully submit the following in opposition to plaintiff's motion seeking to compel the
  Nationwide Defendants to provide further responses to certain of plaintiff's discovery requests.

          Plaintiff's motion is entirely without basis. It not only violates the Rules of this Court,
  but lacks any substance whatsoever.

          As an initial matter, not once in the full year that has passed since the Nationwide
  Defendants timely served their responses to plaintiffls document requests and interrogatories did
  plaintiff ever even seek to bring to the Nationwide Defendants' attention, no less attempt to meet
  and confer concerning, any purported insufficiency with any of the specific discovery items that
  are the subject of plaintiff's motion. Plaintiff's failure to meet and confer prior to filing their
  discovery motion in and of itself mandates the denial of plaintiff's motion. Local Rule 37.3;
  Individual Rule III(A)(1); Official Committee of Unsecured Creditors of Exeter Holdings, Ltd. v.
  Haltman, 2015 WL 9701024, *5 n. 8 (E.D.N.Y. 2015) (Tomlinson, M.J.), adopted, 2016 WL
  183318 (E.D.N.Y. 2016); Automobile Club of New York, Inc. v. The Port Authority of New
  York and New Jersey, 2012 WL 4791804, *6 (S.D.N.Y. 2012) (denying motion to compel where
  "there is no indication that any attempts were made to resolve any specific discovery disputes as
  they relate to particular demands or responses"; emphasis in original).1

          Even apart from plaintiff's failure to comport with the Rules, plaintiff's new challenges
  to the Nationwide Defendants' responses to particular document requests and interrogatories are
  wholly without merit.


          ` None of the specific discovery requests or the Nationwide Defendants' responses and
  objections to them that are the subject of plaintiffs motion were a topic of the meet and confer telephone
  conference among various counsel in December 2015.
  Case 2:12-cv-06383-JFB-AKT Document 437 Filed 01/28/16 Page 2 of 3 PageID #: 8735

GALLEY DREYER            BERKEY, LLP

    Hon. A. Kathleen Tomlinson
    January 28, 2016
    Page 2

             As to Document Request No. 1, in September 2014, when the Nationwide Defendants
    served their Rule 26(a)(1) Initial Disclosures, Nationwide believed that it had in its possession
    certain documents pertaining to the specific no-fault claims at issue in this litigation. Following
    plaintiff's subsequent service of its document demands, the Nationwide Defendants did a
    thorough search and investigation of their records, which revealed that the Nationwide
    Defendants in fact did not have such documents, because the Nationwide Defendants had no role
    with respect to those specific claims. The Nationwide Defendants, moreover, informed plaintiff
    of that lack of involvement and consequent lack of documents as part of its discovery responses,
    which the Nationwide Defendants served in January 2015. Thus, there are no documents for the
    Nationwide Defendants to produce in further response to Request No. 1.2

            Document Request No. 3 is grossly overbroad and improper, calling for the production of
    every single financial document, including tax returns, from the entire history of Nationwide. It
    should also be emphasized in this regard that this suit concerns a mere 177 no-fault claims,
    concerning a time period of less than 2%z years, with total alleged damages of less than $150,000,
    as Judge Bianco dismissed the suit as to every one of the other no-fault claims upon which
    plaintiff had originally sought to sue. The Request is thus not only utterly disproportional to the
    scope and needs of this case, but a classic fishing expedition into entirely irrelevant, sensitive
    financial, business, and tax information, as to which plaintiff has failed to demonstrate a valid,
    no less compelling, reason for production. See, ems., Cuomo v. Clearing House Association, 557
    U.S. 519, 531 (2009) ("an undirected rummaging through bank books and records for evidence
    of some unknown wrongdoing"); Peskoff v. Faber, 230 F.R.D. 25, 28 (D.D.C. 2005) (in RICO
    discovery, the Court must "assess the relevance of the information sought in light of
    particularized claims, rather than general allegations"); Raba v. Suozzi, 2007 WL 81932
    (E.D.N.Y. 2007) (Tomlinson, M.J.) (denying motion to compel production of tax returns).

            Document Request No. 15 is flawed for much the same reasons, calling for a vast array of
    irrelevant business and real estate documents that have absolutely no bearing on the propriety of
    defendants' purported role in the denial of the 177 specific no-fault claims that are the sole
    matters at issue here.

          Interrogatory No. 2 to Nationwide asks for the identity of essentially every single person
   who had anything to do with Nationwide for nearly a decade. It is thus, as indicated in
   Nationwide's objection, tremendously overbroad, burdensome, and harassing, and seeks
   information that is patently irrelevant to the limited issues in this suit. Notwithstanding,
   Nationwide is amenable to providing the names of any owners or officers of Nationwide during
   the time period in which the specific claims at issue in the suit arose.

         Interrogatory No. 7 to Nationwide/Interco ag tort/ No 5 to Individual Nationwide
   Defendants, like Document Request No. 3, is a fishing expedition into the Nationwide
   Defendants' financial affairs, and constitutes, to quote the Supreme Court once again, an

           z The Nationwide Defendants will amend their Rule 26(a) Initial Disclosures to reflect this.
  Case 2:12-cv-06383-JFB-AKT Document 437 Filed 01/28/16 Page 3 of 3 PageID #: 8736

GALLEY DREYER & BERKEY, LLP

    Hon. A. Kathleen Tomlinson
    January 28, 2016
    Page 3

    attempted "undirected rummaging through bank books and records for evidence of some
    unknown wrongdoing." Clearing House Association, 557 U.S. at 531.

            Plaintiff's complaint about the Nationwide Defendant's response to Interrogatory No. 9
    to Nationwide/Interco atory No. 7 to Individual Nationwide Defendants is nearly impossible to
    understand. Plaintiff protests that the Nationwide Defendants should answer this interrogatory
    and provide information about any oral agreements relating to the reports concerning the 177
    claims identified in the Second Amended Complaint. The Nationwide Defendants have already
    done exactly that in answering this interrogatory, responding, as plaintiff itself admits in its
    motion, "the Nationwide Defendants state that they did not enter into any oral agreements
    specifically addressing the no-fault claims that are the subject of the Second Amended
    Complaint, i.e., the claims set forth in Exhibit 7 to the Second Amended Complaint."

            Plaintiff's assertion concerning Interrogatory 11 to Nationwide/Interrogatory No. 9 to
    Individual Nationwide Defendants is likewise entirely baseless. In addition to seeking materials
    that are immaterial to the matters at issue in this suit, as noted above, the Nationwide Defendants
    had no role with respect to the 177 specific no-fault claims at issue in this litigation.3

           We respectfully submit that, for the foregoing reasons, plaintiff's motion to compel
    should be denied in its entirety.

                                                            Respectfully submitted,



                                                            Dav'     .Douglas

    cc:     All counsel (via ECF)
            Dr. Warren Cohen (via email)

    00723055.DOCX




            ' Plaintiff also complains about the General Objections that the Nationwide Defendants asserted
   as part of their responses to plaintiff's document requests and interrogatories. As demonstrated above,
   however, the specific document requests and interrogatories that are the subject of plaintiff's motion are
   indeed objectionable or have already been fully responded to by the Nationwide Defendants
   notwithstanding asserted objections. Moreover, consistent with cases such as Convermat Corp. v. St.
   Paul Fire and Marine Insurance Co., 2007 WI, 2743696 (E.D.N.Y. 2007) (Tomlinson, M.J.), the
   Nationwide Defendants have specifically demonstrated how each of the particular document demands and
   interrogatories at issue in plaintiffls motion seek documents or information that is irrelevant to the no-
   fault claims that are the subject of the action, are overly broad or burdensome, or have already been fully
   responded to by the Nationwide Defendants. Moreover, as discussed, the reason that the Nationwide
   Defendants have not produced requested documents specifically concerning the 177 claims is simply
   because they do not have the requested documents, as they had no role in those claims.
